
444 So.2d 606 (1984)
STATE of Louisiana ex rel. Ronald S. MONROE
v.
Ross MAGGIO, Warden, Louisiana State Penitentiary, Angola.
No. 83-KP-2651.
Supreme Court of Louisiana.
January 3, 1984.
Denied.
CALOGERO and LEMMON, JJ., would grant the requested stay, grant a continuance of one month and order a full evidentiary hearing on the newly discovered evidence issue. The ostensible admission, or confession, by another to the crime (one Stinson) has been uncovered by the defense only recently. That confession, admittedly to a cellmate, was revealed to Pontiac Michigan police in 1980. Because the death penalty is so final, surely no harm would come from continuing this matter one month to allow the defense to produce witnesses from Michigan, and having the trial court evaluate this evidence.
